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     Fashion Nova, Inc.
13

14                                 UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16    JUAN ALCAZAR, individually                       ) Case No. 4:20-cv-01434-JST
      and on behalf of all others similarly            )
17    situated,                                        ) Assigned to Hon. Jon S. Tigar
                                                       )
18                           Plaintiff,                ) DECLARATION OF ERIC B.
             v.                                        ) SCHWARTZ IN SUPPORT OF
19                                                     ) DEFENDANT FASHION NOVA, INC.’S
      FASHION NOVA, INC., a                            ) MEMORANDUM OF POINTS AND
20    California Corporation, and DOES 1 to 10,        ) AUTHORITIES IN SUPPORT OF ITS
      inclusive,                                       ) MOTION TO EXCLUDE EXPERT
21                                                     ) OPINION OF ROBERT MOODY
                             Defendants.               )
22                                                     ) [Filed concurrently with Memorandum of
                                                       ) Points and Authorities; and Proposed Order]
23                                                     )
                                                       )
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        DECLARATION OF ERIC B. SCHWARTZ IN SUPPORT OF DEFENDANT FASHION NOVA, INC.’S MOTION TO EXCLUDE
                                       EXPERT OPINION OF ROBERT MOODY
                                           CASE NO. 4:20-CV-01434-JST
         Case 4:20-cv-01434-JST Document 147-2 Filed 11/30/23 Page 2 of 2




 1          I, Eric B. Schwartz, declare as follows:

 2          1.      I am an attorney, duly licensed to practice law in the State of California, and am

 3   admitted before this Court. I am a partner with the law firm of Sidley Austin LLP, counsel of record

 4   for Defendant Fashion Nova, Inc. (“Fashion Nova”) in this action. I submit this declaration in

 5   support of Fashion Nova, Inc.’s Memorandum of Points and Authorities in Support of its Motion to

 6   Exclude the Expert Opinion of Robert Moody. I have personal knowledge of the matters set forth in

 7   this declaration and, if called upon, I could and would competently testify thereto.

 8          2.      Attached hereto as Exhibit A is a true and correct copy of the Report of Robert

 9   Moody, dated June 23, 2023.

10          3.      Attached hereto as Exhibit B is a true and correct copy of the excerpts from the

11   October 26, 2023 Deposition Transcript of Robert Moody.

12          I declare under penalty of perjury that the foregoing statements are true and correct.

13          Executed on this 30th day of November 2023, in Los Angeles, California.

14                                                         /s/ Eric B. Schwartz
                                                           Eric B. Schwartz
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          DECLARATION OF ERIC B. SCHWARTZ IN SUPPORT OF DEFENDANT FASHION NOVA, INC.’S MOTION TO EXCLUDE
     4877-3780-1108v.2                   EXPERT OPINION OF ROBERT MOODY
                                             CASE NO. 4:20-CV-01434-JST
